                  Case 6:12-cv-06253-FPG-JWF Document 4 Filed 06/18/12 Page 1 of 2
                     Case 6:12-cv-06253 Document 1-4 Filed 05/07/12 Page 1 of 2

AD 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the 

                                                  Western District of New York 


                        Anthony Ronchi
                                                                )
                                                                )
                             Plaintiff
                                                                )
                        v.                                      )        Civil Action No.
 M. Burns, Charles Korherr, Sergeant Fasdick, et. a1.           )
                                                                )
                            Defendant
                                                                )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) 	 Town of Webster
                                     1000 Ridge Road
                                     Webster, NY 14580




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Elmer Robert Keach, III, Esquire
                                 Law Offices of Elmer Robert Keach, III
                                 1040 Riverfront Center
                                 P. O. Box 70
                                 Amsterdam, NY 12010
                                 518.434.1718. bobkeach@keachlawfirm.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date: _ _ _ _ _ _ _ _ __
                                                                                      Signature ofClerk or Deputy Clerk
                    Case 6:12-cv-06253-FPG-JWF Document 4 Filed 06/18/12 Page 2 of· 2                                                           ...
                        Case 6:12-cv-06253 Document 1-1 Filed 05/07/12 Page 2 of 2
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                        PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))
                                                                               ..--"

                                                                                     c~                          «- W ..do.S!\- ~
 was received by me on (dale)              s:'"
           This summons for (name of individual and litle. if any)
                                                     =(   ",   ~ ~()
                                                                                 \        A                  U




           •     I personally served the summons on the individual at (place) \ 00 0                                 %J J. § ~ (.?J.        W "I b~d '11."'1' (\J V   J '1 S
          ~\rlv-=~ \N"th-
                        - U -
                                           ,B<A(bUO;,          :5.     Otte".:sG~o~ On(dale)J~.... ( ~ ;).61~.                                   ;or
                                                                                                                                            """ ",...   '~l ~1-4"
           (j    I left the summons at the individual's residence or usual place of abode with (name)
                                                                                                                                          ------------------
                                                                        , a person of suitable age and discretion who resides there,
          ------------------------------
           on (dale)                                      ,and mailed a copy to the individual's last known address; or
                          -------------
           (j    I served the summons on (name of individual)                                                                                             ,who is
                                                                             -_._-- ---                  _--_.._....__..----_
                                                                                          ................                    ... 


            designated by law to accept service of process on behalf of (name oforganization)
                                                                                                        on (dale)                                ; or

           (j    I returned the summons unexecuted because                                                                                                     ; or
                                                                              ---------------------------------------
           %I    Other (specify):




           My fees are $                                  for travel and $                                   for services, for a total of$              0.00
                                   ---------                                 --------

               I declare under penalty of perjury that this information is true.


  Date:




               #:_015
                 NICHOLAS O. HtNKS 

                    No.01HI6244145 

                Notary Public. Slala of New York 

                                                                                                                 Printed name and litle
                  Qualified In Wayne Coun\.Y





Town 01 Webster, New York
               WEBSITE: WWW.Ci.webster.ny.us


   BARBARAd. • TT.Ns~nOT
                   Town Clerkfrax Receiver


1000 Ridge Road                              Telephone: (585) 872·7060
Webster, New York 14580-2791                       Fax: (585) 872-7058
                                       Email: bottenschol@ci.websler.ny.us
